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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

UNITED STATES OF AMERICA                    )
                                            )      No. 11 CR 595
      v.                                    )
                                            )
KEENAN R. FERRELL and                       )      Honorable Virginia M. Kendall
BRYCE WOODS                                 )

               PROTECTIVE ORDER GOVERNING DISCOVERY

      Upon the unopposed motion of the government, pursuant to Federal Rule of

Criminal Procedure 16(d), it is hereby ORDERED:

      1.     All of the materials provided by the United States in preparation for, or

in connection with, any stage of the proceedings in this case (collectively, “the

materials”) are subject to this protective order and may be used by defendants and

defendants’ counsel (defined as counsel of record in this case) solely in connection with

the defense of this case, and for no other purpose, and in connection with no other

proceeding, without further order of this Court.

      2.     Defendants and defendants’ counsel shall not disclose the materials or

their contents directly or indirectly to any person or entity other than persons

employed to assist in the defense, persons who are interviewed as potential witnesses,

counsel for potential witnesses, and other persons to whom the Court may authorize

disclosure (collectively, “authorized persons”). Potential witnesses and their counsel

may be shown copies of the materials as necessary to prepare the defense, but may not

retain copies without prior permission of the Court.
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      3.     Certain materials disclosed or to be disclosed by the government contain

mental health information of one or more persons other than the defendant to whom

the information is disclosed. These materials shall be plainly designated as sensitive

by the government prior to disclosure. No such materials, or the information contained

therein, may be disclosed to any persons other than defendants, counsel for defendants,

persons employed to assist the defense, or the person to whom the sensitive

information solely and directly pertains, without prior notice to the government and

authorization from the Court. Absent prior permission from the Court, information

designated as sensitive shall not be included in any public filing with the Court, and

instead shall be submitted under seal (except in the case of a defendant who chooses

to include in a public document sensitive information relating solely and directly to the

defendant making the filing).

      4.     Defendants, defendants’ counsel, and authorized persons shall not copy

or reproduce the materials except in order to provide copies of the materials for use in

connection with this case by defendants, defendants’ counsel, and authorized persons.

Such copies and reproductions shall be treated in the same manner as the original

materials.

      5.     Defendants, defendants’ counsel, and authorized persons shall not disclose

any notes or records of any kind that they make in relation to the contents of the

materials, other than to authorized persons, and all such notes or records are to be

treated in the same manner as the original materials.



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         6.   Before providing materials to an authorized person, defense counsel must

provide the authorized person with a copy of this Order.

         7.   Upon conclusion of all stages of this case, all of the materials and all

copies made thereof shall be destroyed or returned to the United States, unless

otherwise ordered by the Court. The Court may require a certification as to the

disposition of any such materials.

         8.   To the extent any material is produced by the United States to defendants

or defendants’ counsel by mistake, the United States shall have the right to request the

return of the material and shall do so in writing. Within five days of the receipt of such

a request, defendants and/or defendants’ counsel shall return all such material if in

hard copy, and in the case of electronic materials, shall certify in writing that all copies

of the specified material have been deleted from any location in which the material was

stored.

         9.   The restrictions set forth in this Order do not apply to documents that are

or become part of the public court record, including documents that have been received

in evidence at other trials, nor do the restrictions in this Order limit defense counsel

in the use of discovery materials in judicial proceedings in this case, except that any

document filed by any party which attaches or otherwise discloses specially identified

sensitive information as described in Paragraph 3, above, shall be filed under seal to

the extent necessary to protect such information, absent prior permission from this

Court.



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      10.    Nothing contained in this Order shall preclude any party from applying

to this Court for further relief or for modification of any provision hereof.

                                                ENTERED:



                                                HONORABLE VIRGINIA M. KENDALL
                                                District Judge
                                                United States District Court
                                                Northern District of Illinois

Date: October 27, 2011




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